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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                                                     3:14-CR-00282-KI-(3)

        v.                                                      PRELIMINARY ORDER OF
                                                                FORFEITURE AND MONEY
TUNG WING HO, et al,                                      JUDGMENT AND FINAL ORDER OF
                                                           FORFEITURE AS TO DEFENDANT
        Defendants.                                            JASON MICHAEL KEATING




       IT IS HEREBY ORDERED:

       1.      As the result of the guilty plea on Count 1 of the Indictment, for which the

Government sought forfeiture pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c),

defendant shall forfeit to the United States all property representing proceeds of the offense.

       2.      Defendant is ordered to forfeit proceeds in the amount of $97,709.00 in United

States currency representing a portion of the proceeds of defendant's criminal activity.

       3.      Upon the entry of this Order, the United States is authorized to conduct discovery to

identify, locate, or determine disposition of the property subject to forfeiture, in accordance with

Fed. R. Crim. P. 32.2(b)(4).
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       4.       Rule 32.2(c)(l) provides that "no ancillary proceeding is required to the extent that

the forfeiture consists of a money judgment."

       5.       Pursuant to Rule 32.2(b)(4), this Preliminary Order of Forfeiture shall become final

as to the defendant at the time of sentencing and shall be a part of the sentence and shall be included

in the judgment.

       6.       The Court shall retain jurisdiction to enforce this order, and to amend it as necessary,

pursuant to Fed.R.Crim.P. 32.2(e).

       7.       When property is located, it is to be held by the United States Secret Service in its

secure custody pending resolution of all third-party interests as provided in 21 U .S.C. § 853(n).

       IT IS SO ORDERED        th~~y of April, 2015.



Submitted by:




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